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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1165V
                                     Filed: January 8, 2021
                                         UNPUBLISHED


    JODY LARSEN,

                         Petitioner,
    v.                                                       Joint Stipulation on Damages;
                                                             Influenza (Flu) Vaccine; Shoulder
    SECRETARY OF HEALTH AND                                  Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA); brachial
                                                             neuritis
                        Respondent.


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

        On August 29, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) and/or brachial neuritis as a result of her October 28, 2015
influenza vaccination. Petition at 1; Stipulation, filed December 29, 2020, at ¶¶ 2,4.
Petitioner further alleges that the vaccination was administered within the United States,
that she experienced the residual effects of her alleged injury for more than six months,
and that there has been no prior award or settlement of a civil action for damages on
her behalf as a result of her condition . Petition at 1-2; Stipulation at ¶¶ 3-5.
“Respondent denies that the flu vaccine caused petitioner to suffer from SIRVA or
brachial neuritis; denies that petitioner sustained a Table injury; and further denies that
the flu vaccine caused petitioner to suffer any other injury or her current condition. ”
Stipulation at ¶ 6.


1
  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinaf ter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on December 29, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as the decision of the Court in awarding damages,
on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $20,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                         s/Daniel T. Horner
                                         Daniel T. Horner
                                         Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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